         Case 3:16-cr-00029-MPS         Document 118         Filed 08/02/16      Page 1 of 4




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

  UNITED STATES OF AMERICA
                                                             No. 3:16-cr-00029 (MPS)
           v.

  BRADFORD BARNEYS                                           August 2, 2016


                      RULING ON MOTION TO SEVER DEFENDANT

         Defendant Bradford Barneys moves (ECF Nos. 106 and 114) to sever the Government’s

prosecution of him from his co-defendant, Timothy Burke, in Case Number 16cr29. Defendant

argues that “severance is necessary to avoid the highly prejudicial spillover effect that will result

from the introduction of evidence against his co-defendant in a joint trial.” (ECF No. 114 at 1.)

Defendant’s Motion is DENIED because he has failed to show that “there is a serious risk that a

joint trial would compromise a specific trial right . . . or prevent the jury from making a reliable

judgment about guilt or innocence.” Zafiro v. United States, 506 U.S. 534, 539 (1993)

   I.       Background

         On April 27, 2016, a grand jury returned a twelve-count Second Superseding Indictment

charging Defendant Bradford Barneys with two counts of conspiracy and mail fraud. (ECF No.

79.) His co-defendant Timothy Burke with charged in the same indictment with twelve counts of

conspiracy, mail fraud, wire fraud, aggravated identity theft, tax evasion, and money laundering.

The Indictment alleges that Barneys, acting as Mr. Burke’s lawyer, conspired with Mr. Burke to

defraud homeowners by taking control of their foreclosed properties through fraudulent

representations.

   II.      Discussion
       Case 3:16-cr-00029-MPS           Document 118         Filed 08/02/16      Page 2 of 4




       “There is a preference in the federal system for joint trials of defendants who are indicted

together.” Zafiro v. United States, 506 U.S. 534, 537 (1993). Defendants seeking severance

pursuant to Fed. R. Crim. P. 14 have a high burden:

       When defendants are properly joined under Rule 8, a severance, pursuant to Fed
       R.Crim. P. 14, should only be granted if there is a serious risk that a joint trial
       would either compromise a specific trial right of one of the defendants or prevent
       the jury from making a reliable judgment about guilt or innocence. See Zafiro v.
       United States, 506 U.S. 534, 539, 113 S.Ct. 933, 938, 122 L.Ed.2d 317 (1993). A
       defendant seeking severance must show that the prejudice to him from joinder is
       sufficiently severe to outweigh the judicial economy that would be realized by
       avoiding multiple lengthy trials. See United States v. Panza, 750 F.2d 1141, 1149
       (2d Cir.1984).

United States v. Walker, 142 F.3d 103, 110 (2d Cir. 1998). The preference for joint trials “is

particularly strong where, as here, the defendants are alleged to have participated in a common

plan or scheme.” United States v. Salameh, 152 F.3d 88, 115 (2d Cir. 1998).

       Defendant argues that severance is necessary because of the prejudicial spillover effect

that will result from the introduction of evidence against his co-defendant. Spillover prejudice is

an “unlikely occurrence when all the defendants are charged under the same conspiracy count.”

United States v. Salameh, 152 F.3d 88, 115 (2d Cir. 1998). Defendant Barneys argues that much

of the evidence that the government plans to introduce in its case in chief would be inadmissible

in a trial against Mr. Barneys alone. Defendant Barneys argues that the “hundreds of intercepted

communications to which Mr. Barneys was not a party or about which he had no knowledge or

involvement” would result in spillover prejudice and compel severance.

       This argument fails for two reasons. First, “the fact that evidence may be admissible

against one defendant but not another does not necessarily require a severance.” United States v.

Carson, 702 F.2d 351, 367 (2d Cir. 1983). Furthermore, the Second Circuit has repeatedly held

that "[d]iffering levels of culpability and proof are inevitable in any multi-defendant trial and,



                                                  2
       Case 3:16-cr-00029-MPS            Document 118        Filed 08/02/16       Page 3 of 4




standing alone, are insufficient grounds for separate trials." Id. at 366-67 (2d Cir. 1983); see also

United States v. Spinelli, 352 F.3d 48, 55 (2d Cir. 2003). The Second Circuit also “has

repeatedly recognized that joint trials involving defendants who are only marginally involved

alongside those heavily involved are constitutionally permissible.” United States v. Locascio, 6

F.3d 924, 947 (2d Cir. 1993). But more importantly, Defendant Barneys has not explained why

these communications would necessarily be inadmissible against him. In fact, as the government

points out in its brief, the communications may be admissible against Mr. Barneys under the co-

conspirator exception. Fed. R. Evid. 801(d)(2)(E). Even if they are not, the Court may issue

limiting instructions that would clarify that such evidence was to be considered against Mr.

Burke only.

          Defendant also argues that he will be prejudiced because Mr. Burke has a prior federal

conviction for similar conduct. “In a prosecution for conspiracy an individual defendant is not

entitled to a separate trial upon the ground that he would be unable to obtain a fair trial in the

company of defendants who had pled guilty to a separate indictment and also with a defendant

who had a criminal record.” United States v. Rucker, 586 F.2d 899, 903 (2d Cir. 1978). Burke’s

prior conviction does not warrant severance. “When the risk of prejudice is high, a district court

is more likely to determine that separate trials are necessary, but . . . less drastic measures, such

as limiting instructions, often will suffice to cure any risk of prejudice.” Zafiro v. United States,

506 U.S. 534, 539 (1993). Here, Defendant Barneys has not shown a high risk of prejudice.

Any prejudice that does result from the introduction of his co-defendant’s criminal record can be

cured by a limiting instruction.

   III.      Conclusion

          For the reasons stated above, Defendant’s Motion to Sever is DENIED.



                                                   3
         Case 3:16-cr-00029-MPS        Document 118    Filed 08/02/16   Page 4 of 4




                                           IT IS SO ORDERED.



                                              /s/
                                           Michael P. Shea, U.S.D.J.


Dated:         Hartford, Connecticut
               August 2, 2016




                                              4
